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                                      Thursday, 10 October, 2019 03:55:50 PM
                                                 Clerk, U.S. District Court, ILCD
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